Case 1:20-cr-00239-TSE Document 304 Filed 04/28/22 Page 1 of 3 PageID# 2742




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                           Alexandria Division

UNITED STATES OF AMERICA              )
                                      )      Redacted
v.                                    )
                                      )      No. 1:20-cr-239
ALEXANDA AMON KOTEY,                  )
                                      )
       Defendant.                     )

             ORDER ON BOP PLACEMENT RECOMMENDATION

       The defense has moved this Court to recommend to the Bureau of Prisons that

it consider alternatives to incarcerating the defendant, Alexanda Kotey, at Florence

ADX, an administrative maximum prison facility. Accordingly, having considered

the defense motion and for good cause shown, it is hereby

       ORDERED that the defendant’s Motion for a Sentencing Recommendation is

granted, and it is

       FURTHER ORDERED that this Court strongly recommends that the

Department of Justice and the Bureau of Prisons initially designate Mr. Kotey to a

facility other than Florence ADX, and, more specifically, that the Department of

Justice and the Bureau of Prisons evaluate Mr. Kotey for placement in a

Communications Management Unit, as defined in BOP Program Statement 5214.02;

and it is

       FURTHER ORDERED that that Communications Management Unit may

provide programming and limited interaction in a setting that still provides for

communications monitoring and that total isolation is unnecessary considering the
Case 1:20-cr-00239-TSE Document 304 Filed 04/28/22 Page 2 of 3 PageID# 2743
Case 1:20-cr-00239-TSE Document 304 Filed 04/28/22 Page 3 of 3 PageID# 2744




      •   Solitary confinement under conditions such as those at Florence ADX is
          deleterious to a person’s mental and physical health, and its use should be
          limited to the most serious cases where no other conditions of confinement
          will be sufficient; and

      •   The BOP has two Communications Management Units, the purpose of
          which is to strictly monitor an inmate’s communications with the
          community, but which also allow for inmates to have contact with others on
          the unit. These units are set up to achieve careful monitoring of the
          defendant’s communications without the severe conditions of confinement
          that Florence ADX would entail.

      And it is FURTHER ORDERED that if, notwithstanding this Court’s strong

recommendation to seriously consider alternatives to Florence ADX, including the

Communications Management Units, the defendant is nevertheless designated to

Florence ADX, the Department of Justice and the Bureau of Prisons shall provide

this Court with a written explanation for that designation no later than 30 days after

the designation is complete; and it is

      FURTHER ORDERED that the Clerk provide a copy of this Order to counsel

of record, the United States Marshals Service, the Bureau of Prisons, and the Federal

Bureau of Investigation.

      ENTERED this ____ day of April, 2022.



                                              ______________________________
                                              Hon. T.S. Ellis, III
                                              United States District Judge




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